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Thomas R. Malcolm (State Bar No. 39248)

trmalcolm@jonesday.com

Richard J. dabowski (State Bar No. 125666)

rerabowski@) jonesday.com

arc K. Callahan (State Bar No. 156616)

mkcallahan@jonesday.com

Marc S. Carlson (State Bar No. 210592)

mscarlson@jonesday.com
JONES D

3 Park Plaza, Suite 1100
Irvine, California 92614
Telephone: (949) 851-3939
Facsimile: 949) 553-7539

Attorneys for Plaintiff
EXPER AN INFORMATION
SOLUTIONS, INC.

UNITED STATES DISTRICT COURT 2
CENTRAL DISTRICT OF CALIFORNIA , ¢5 3

EXPERIAN INFORMATION
SOLUTIONS, INC., a corporation,

Plaintiff,
Vv.

LIFELOCK, INC., a corporation; and
DOES 1 through 10, inclusive,

Defendant.

 

 

 

LAI-2930464v1

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Case No. SACV08-00165 AG (MLG»?
Assigned for all purposes to:

DEMAND FOR JURY TRIAL

COMPLAINT FOR:
1. Declaratory Relief;

2. Concealment/Suppression of
Fact;

3. Intentional Misrepresentation;
4. Negligent Misrepresentation;

5. Violation of Lanham Act;
6

. Violation of California Business
& Professions Code § 17500;

7. Violation of California Business
& Professions Code § 17200;

8. Unjust Enrichment/Restitution;

9. Quantum Meruit.

 
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JURISDICTION AND VENUE

1. This Court has original jurisdiction over this matter, under 28 U.S.C.

§ 1331, in that it is a civil action arising under a law of the United States,
specifically 15 U.S.C. § 1125 and 15 U.S.C. § 1681 et seq.

2. This Court has original jurisdiction over this matter, under 28 U.S.C.

§ 1332, in that it is a civil action between citizens of different states in which the
matter in controversy exceeds, exclusive of costs and interest, seventy-five
thousand ($75,000.00) dollars.

3. Venue is proper in the Central District of California, under 28 U.S.C.
§1391(a), in that all of the defendants are subject to personal jurisdiction in this
District at the time the action is commenced and a substantial part of the events or
omissions on which the claims in this matter are based occurred in this District.

INTRODUCTION

4. This action arises out of LifeLock, Inc.’s (“LifeLock”) illegal
placement of “fraud alerts” on the credit files maintained by Experian Information
Solutions, Inc. (“Experian”) and other consumer reporting agencies. In conjunction
therewith, LifeLock is engaged in a pattern of false and misleading advertising and
fraud, which has and continues to mislead and damage Experian and consumers.

5. Under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.
(“FCRA”), any consumer who asserts a good faith suspicion that he or she has been
or is about to become a victim of fraud or related crime, including identity theft,
may request that a national consumer reporting agency (such as Experian) place an
‘initial fraud alert” in his or her credit file for at least 90 days. These initial alerts
are a temporary measure to be requested only when the consumer actually suspects
that identity theft has occurred or is about to occur. If the consumer thereafter
confirms that fraud has occurred, the FCRA provides for an “extended” fraud alert

when the consumer provides a police report or other ”identity theft report”.

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6. Because the placement of initial fraud alerts is limited by statute to only
those consumers who actually believe that fraud has occurred or is imminent, a
prospective issuer of credit is required by law to take reasonable steps to confirm
the identity of the person making the request before opening a new credit account
or increasing a credit limit in the name of that consumer.

7. Under the FCRA, an initial fraud alert is available to any eligible
consumer—for free — from a national consumer reporting agency. Consumers can
place a free initial fraud alert simply and quickly through a toll-free telephone
number, the internet or mail. However, the FCRA mandates that a request for an
initial fraud alert must be made directly by the consumer or by an individual acting
on behalf of or as a personal representative of a consumer. The FCRA does not
permit the placement of an initial fraud alert by corporations such as LifeLock.
Despite this prohibition, LifeLock has surreptitiously placed hundreds of thousands
of fraud alerts on Experian’s files by posing as the consumer.

8. Once an initial fraud alert is placed, it triggers costly statutory
obligations for consumer reporting agencies such as Experian. First, Experian and
the other credit reporting agencies are required to mail a notice to each consumer
each time a fraud alert is filed explaining various rights that the consumer has,
including the right to receive a free credit report by virtue of the placement of a
fraud alert. Experian is then mandated to provide a free credit report to any such
consumer who requests one. Although costly for the credit reporting agencies,
these requirements make sense in the context of a statute that was designed to
protect consumers who have an actual and legitimate concern that fraud has
occurred or is imminent. However, as described more fully below, such obligations
were never intended to be triggered by a private company seeking to profit by
illegally placing fraud alerts on behalf of consumers who do not have a genuine

suspicion of imminent fraud.

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9. Befitting a company whose co-founder has spent time in jail after
having been arrested for financial fraud and who has been barred by the FTC for
life from engaging in certain credit reporting related activities, LifeLock’s business
model consists of a scheme to “game the system,” which is imbued with illegal
activity, fraud and deception at every level:

a. As a corporation, LifeLock is not legally entitled to place fraud alerts

on behalf of consumers, but continues to do so thousands of times per month;

b. LifeLock deceives Experian (and other consumer reporting agencies)

by actively concealing that its requests are being submitted by a corporation;

c. LifeLock misleads consumers into believing that it is authorized to

place fraud alerts with credit reporting agencies when it is not,

d. Although initial fraud alerts are designed to be temporary, 90 day
measures for people who actually discover or suspect fraud, LifeLock
deceives consumer reporting agencies into implementing an indefinite or
perpetual state of “initial” alert by submitting a "new" fraud alert request
every 90 days;

e. LifeLock misleads consumers into believing that the FCRA authorizes
the repeated, sequential and perpetual placement of initial fraud alerts when it
does not;

f. LifeLock submits requests for alerts every 90 days where neither
LifeLock nor the consumer has a good faith suspicion that fraud has occurred
or is imminent.

10. LifeLock actively advertises that its customers “...will receive an email
from us stating that your credit reports have been ordered on your behalf from the
major credit bureaus.” What LifeLock does not adequately disclose to the
consumer is that it is charging the consumer to obtain his or her one free annual
report to which they are entitled to under law. Rather than pay for a credit report at

each of the major credit bureaus, LifeLock goes to the “centralized source” that the

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major credit bureaus were required to jointly establish in order to provide
consumers with the free annual credit report. LifeLock then requests the
consumer’s one free annual report from each of the major credit bureaus by posing
as that consumer. Thereafter when a LifeLock customer goes to the centralized
source to obtain a copy of his or her free annual credit report, that request is denied
because LifeLock already used it.

11. LifelLock’s scheme damages Experian (and other consumer reporting
agencies), consumers, and the economy as a whole. LifeLock’s scheme costs
Experian millions of dollars every year in processing large numbers of improper
initial fraud alerts, mailing mandatory notices to consumers, and providing free
credit reports to consumers who are not eligible for such reports. The consuming
public has been harmed too. LifeLock’s scheme creates the impression that
consumers must pay for the protections provided by initial fraud alerts, potentially
deterring those who legitimately need fraud alerts but who cannot afford LifeLock’s
subscription fees. Lifelock’s fraudulent scheme harms the economy as well.
LifeLock’s practices threaten to clog the credit system with stale and unnecessary
fraud alerts, potentially devaluing the efficacy of necessary alerts as LifeLock
“cries wolf? on behalf of thousands of unthreatened customers. Further, LifeLock’s
practices also unnecessarily slow the extension of credit, impose additional costs
and burdens on businesses, and may lead to unnecessary denials of legitimate
applications for credit thereby forcing consumers to make repeated applications for
credit and harming their credit scores in the process.

12. Asaresult of LifeLock’s wrongful conduct, Experian seeks:

(i) declaratory relief establishing the parties’ rights under the FCRA; (ii) restitution
of the costs to Experian for LifeLock’s wrongful conduct; (iii) disgorgement of
profits earned by LifeLock as a result of its illegal practices; (iv) compensatory and
punitive damages; and (v) an injunction precluding LifeLock from continuing to

engage in false and misleading advertising regarding (a) its services and (b) the

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1 | efficacy and availability of fraud alerts (for free) from Experian, Trans Union
2 | and Equifax.
3 PARTIES
4 13. Experian is an Ohio corporation having its principal place of business at
5 | 475 Anton Boulevard, Costa Mesa, California 92626.
6 14. LifeLock is a Delaware corporation with its principal place of business
7 | located at 60 Salado Pkwy, Tempe, Arizona 85281.
8 15. The true names and capacities, whether individual, corporate, associate
9 | or otherwise, of the defendants named as DOES 1 through 10, inclusive, are
10 | unknown to Experian who, therefore, sues those defendants by such fictitious
11 | names. Experian is informed and believes and thereon alleges that each of the
12 | defendants sued herein as DOES 1 through 10 are and were the agents and/or
13 | employees of each and every other defendant and were at all relevant times acting
14 | within the course and scope of such agency and employment, and/or are legally
15 | responsible in some manner for the events and happenings herein referred to and
16 | caused injuries and damages proximately thereby to Experian as herein alleged.
17 | Experian will seek to amend its complaint to allege the true names and capacities of
18 | such defendants when ascertained.
19 16. Experian is informed and believes and thereon allege that, at all
20 | relevant times, each Defendant was acting as the agent, employee, principal,
21 | officer, partner, joint venturer, director or other representative of one or more of the
22 | other Defendants, and, in committing the acts and/or omissions mentioned herein,
23 | was acting within the course and scope of such employment, agency, partnership,
24 | joint venture, or other relationship, and with the knowledge and consent of the
25 | remaining Defendants.
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BACKGROUND
THE FCRA AND THE FRAUD ALERT SYSTEM

17. The FCRA provides for three types of fraud alerts, which are available
to consumers based upon the consumers’ risk of becoming, or having been, an
actual victim of fraud, including identity theft. See 15 U.S.C. §§ 168 1ce-1(a)(1),
1681c-1(b)(1), 1681c-1(c). These fraud alerts are not available as a matter of right
to all consumers, but only upon a showing that the consumer falls within a
particular risk category, entitling them to receive a fraud alert.

18. Under 15 U.S.C. § 1681c-1(a), a consumer can request an “initial” 90-
day fraud alert, which is designed as a temporary, stopgap measure for a consumer
who suspects he or she has been or is in imminent danger of becoming a victim of
fraud. Such alerts are available to consumers “[u]pon the direct request of a
consumer, or an individual acting on behalf of or as a personal representative of a
consumer, who asserts in good faith a suspicion that the consumer has been or is
about to become a victim of fraud or related crime, including identity theft...” and
the provision of “appropriate proof of the identity of requestor.” 15 U.S.C.

§ 1681c-1(a)(1).

19. Once a consumer requests an initial alert and asserts his or her good
faith suspicion, the credit reporting agency must: (i) include a fraud alert in that
consumer’s file for at least 90 days (15 U.S.C. § 1681c-1(a)(1)(A)); (ii) refer the
fraud alert to each of the other credit reporting agencies (15 U.S.C. § 1681c-
1(a)(1)(B)); (iii) disclose to the consumer that the consumer may receive a free
copy of his credit report (15 U.S.C. § 1681c-1(a)(2)(A)); and (iv) provide the
consumer with a credit report free of charge upon the request of the consumer
(15 U.S.C. § 1681c-1(a)(2)(B)).

20. Under 15 U.S.C. § 1681c-1(b), a consumer who is the actual victim ofa
documented case of identity theft can obtain an “extended” fraud alert. Extended

alerts are available “[u}pon the direct request of a consumer, or an individual acting

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on behalf of or as a personal representative of a consumer, who submits an identity
theft report to a consumer reporting agency...” 15 U.S.C. § 1681c-1(6)(1).

21. Once a consumer requests an extended alert and provides an identity
theft report, the credit reporting agency must: (i) include a fraud alert in the
consumer’s file for the next seven (7) years (15 U.S.C. § 1681c-1(b)(1)(A)); (ii) for
the next five (5) years, “exclude the consumer from any list of consumers provided
by the agency to any third party to offer credit or insurance to the consumer that
was not initiated by the consumer” (15 U.S.C. § 1681c-1(b)(1)(B)); (iii) refer the
fraud alert to each of the other credit reporting agencies (15 U.S.C. § 1681c-
1(b)(1)(C)); (iv) disclose to the consumer that the consumer may receive a free
copy of his credit report (15 U.S.C. § 1681c-1(b)(2)(A)); and (v) provide the
consumer with a credit report free of charge upon the request of the consumer
(15 U.S.C. § 1681c-1(b)(2)(B)).

22. Section 15 U.S.C. § 1681c-1(c) allows an “active duty military
consumer” to obtain a 12-month fraud alert. Active duty alerts are available
“Tu]pon the direct request of a consumer, or an individual [not a corporate entity]
acting on behalf of or as a personal representative of an active duty military
consumer...” 15 U.S.C. § 1681c-1(c). This is the only type of alert permitted
under the FCRA that allows consumers to obtain a fraud alert without any type of
showing that they are, or are likely to become, a victim of fraud.

23. The FCRA provides that whenever a consumer reporting agency
receives a request for an initial fraud alert, the agency must “refer the information
regarding the alert” to each of the other credit reporting agencies. 15 U.S.C.

§ 1681c-1(a)(B). When a credit reporting agency receives a referral from another
credit reporting agency, it must follow the procedures for handling the fraud alert
“as though the agency received the request from the consumer directly.” 15 U.S.C.
§ 1681c-1(e). Because Experian has no way of determining whether an initial fraud

alert that was referred to Experian from another credit reporting agency was legal

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(i.e., a request from “a consumer, or an individual acting on behalf of or as a
personal representative of a consumer”) or illegal (i.e., through LifeLock), without
seeking verification directly from each consumer, Experian: (i) places an initial
fraud alert on the consumer’s file; (ii) notifies the consumer of the availability of a
free credit report; and (iii) within three (3) days, provides a free credit report to the
consumer upon the consumer’s request.

24. The FCRA specifically provides that credit reporting agencies must
honor a request for an initial fraud alert from “a consumer, or an individual acting
on behalf of or as a personal representative of a consumer.” 15 U.S.C. §§ 1681c-
1(a)(1). The FCRA does not require the credit reporting agencies to accept fraud
alerts placed by corporations (such as LifeLock) on behalf of consumers.

25. “Initial” fraud alerts place limits on potential creditors who use a credit
report to establish a “new credit plan,” grant an “extension of credit,” issue an
“additional credit card” on an existing account, or “grant an increase in credit limit”
on an existing account. 15 U.S.C. § 1681c-1(h)(1)(B). When an initial fraud alert
appears on a consumer’s credit report, the creditor must “utilize[] reasonable
procedures to form a reasonable belief that the user knows the identity of the person
making the request.” 15 U.S.C. § 1681c-1(h)(1)(B). The consumer may provide a
contact phone number in placing a fraud alert; however, there is no requirement that
the creditor call the consumer directly to verify that the consumer has authorized
the credit application. Instead of calling the consumer, the creditor may “take
reasonable steps to verify the consumer’s identity and confirm that the application
or a new credit plan is not the result of identity theft.” 15 U.S.C. § 1681c-
1(h)(1)(B)Gi).

26. Fraud alerts only are effective against certain types of fraud. While
they can be useful to prevent the opening of certain new accounts that require a
credit report to be pulled, they are ineffective to prevent identity theft involving the

opening of accounts that do not require a credit report. Fraud alerts provide no

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protection to individuals against the fraudulent use of existing accounts, such as the
unauthorized use of a credit card, and they provide little or no protection against an
identity theft that already is in progress.

27. A fraud alert places a significant burden on creditors before they may
grant credit. For example, it imposes upon them an obligation “to take reasonable
steps to verify the consumer’s identity and confirm that the application for a new
credit plan is not the result of identity theft.” 15 U.S.C. § 1681(h)(1)(B). These
measures are over and above the procedures that many creditors have in place for
verifying a consumer’s identity prior to granting credit.

28. Fraud alerts can have unintentional negative effects on individuals, and
their ability to obtain credit. Creditors can simply deny a credit application if a
consumer’s credit report has a fraud alert rather than implement procedures that
satisfy the verification requirements. For creditors that implement verification
procedures, they must deny a credit application if the creditor is unable to verify the
legitimacy of the application at the time of processing. Thus, unnecessary fraud
alerts can result in increased denials of credit to consumers who neither are the
victims of identity theft nor are about to become victims of identity theft. Denials
such as these can lead to repeated attempts to apply for credit which, in turn, may
reduce a consumer’s credit score or credit rating. Further, the cumulative effect of
placing unwarranted and unauthorized fraud alerts on consumers’ files places undue
and unnecessary burdens on the credit granting industry as a whole, and results in
even broader implications for the economy.

29. Under 15 U.S.C. § 1681j(a), each of the national credit reporting
agency must provide every consumer with a free credit report once per year upon
the request of the consumer. The free credit report is available to consumers
through a “centralized source” located at www.annualcreditreport.com, and
established jointly by the three national credit bureaus. The credit reporting

agencies are required to provide the free annual credit report “only if the request

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from the consumer is made using the centralized source established for such
purpose...” 15 U.S.C. § 1681j(a)(1)(B). The free credit reports are available online
immediately, or are mailed to consumers at their address on file with the credit
reporting agencies for consumers who request their credit reports by telephone, or
in writing.

EXPERIAN

30. Experian is a consumer credit reporting agency under the FCRA. Asa
consumer credit reporting agency, Experian acts as a conduit of credit information
that is pertinent to prudent credit granting and related decisions. Experian gathers
credit information originated by others, and makes that information available to
parties engaged in credit-related transactions. Experian essentially acts as a
storehouse of credit information by storing, retrieving, and furnishing data as
allowed by the FCRA and similar state laws.

31. Under 15 U.S.C. § 1681c-1, Experian allows individuals to request
“initial” fraud alerts — the exact same fraud alerts placed by LifeLock’s paid
service — quickly and easily over its website located at www.experian.com or
through a toll-free number (which is posted on Experian’s website) and without
cost. The request process can be completed in a matter of minutes; the process is
completely free of charge; Experian automatically generates a notice to consumers
that they can request a free credit report and provides credit reports for those who
make that request; online consumers who request a report may immediately view
their credit report over the Internet; telephone consumers who request a report will
receive a credit report in the mail; those who request an extended alert may request
two free reports in the twelve month period after they submit an identity theft
report; and Experian automatically refers all fraud alerts to the other credit

reporting agencies.

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LIFELOCK

32. Todd Davis and Robert J. Maynard, Jr. founded LifeLock in 2005.
Although LifeLock has touted its founders as “seasoned veterans of the banking
credit and security industries,” who “did solid research for more than three years”
to develop its system, LifeLock does not disclose less auspicious information about
its founding and, specifically, about its founding-member, Maynard. According to
newspaper reports, Maynard developed the idea for LifeLock while sitting in a jail
cell after having been arrested for reneging on a $16,000.00 casino marker taken
out at the Mirage Hotel in Las Vegas. Maynard, who initially held the title of Chief
Operating Officer, and later Marketing Director, had been banned for life by the
FTC from “advertising, promoting, offering for sale, selling, performing, or
distributing any product or service relating to credit improvement services.” That
lifetime ban resulted from Maynard’s previous scheme involving the operation of a
credit repair clinic. The credit repair industry is notorious for a multitude of
unsavory practices and characters. This fact is particularly relevant here given that
the legislative history to the FCRA confirms that the statute was drafted to
specifically exclude companies, like credit repair agencies, from placing fraud
alerts on consumer credit files: The legislative history states that the statute “use[s]
the word ‘individual’ instead of ‘person’ to ensure that the provision would only
apply to specific individuals such as a consumer’s authorized family members or
guardians (or attorneys acting as personal representatives), authorized
representatives from bona fide military service organizations, and not to
companies and entities such as credit repair clinics.” See H.R. Rep. No. 108-
263 at 40 (Sept. 4, 2003) (emphasis added).

33. Despite all of this, under the scheme developed by Maynard and his
partners, LifeLock charges consumers to request placement of initial fraud alerts,

even though they are available for free from a consumer reporting agency upon

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direct request of the consumer. LifeLock currently charges $10 per month or $110
per year.

34. Under the FCRA, LifeLock is not authorized to request placement of an
initial fraud alert on a consumer’s credit file; instead, only the consumer, or an
individual acting on behalf of or as a representative of the consumer, may submit
requests for the placement of initial fraud alerts. But LifeLock improperly places
fraud alerts for consumers. Worse yet, LifeLock does so for consumers who are not
even eligible for such alerts.

35. The FCRA requires that the consumer or personal representative “assert
in good faith a suspicion that the consumer has been or is about to become a victim
of fraud or related crime, including identity theft...” LifeLock submits requests
where neither it nor its customers have such a belief. LifeLock’s advertising and
customer intake process attempts to dilute this standard by convincing consumers
that fraud alerts may be set as a proactive, preventive measure to combat identity
theft rather than in reaction to a good faith suspicion that they are or are about to
become a victim of identity theft (as required by the FCRA). For example,
LifeLock’s website repeatedly touts LifeLock as “proactive identity theft
protection,” and even suggests that the desire to stop receiving junk mail “alone is
worth the price.” LifeLock’s order form asks consumers to state “why do you think
you or your family members will become a victim of identity theft?” Among the
answers scripted by LifeLock (which allow consumers to enroll in LifeLock) are
responses that are not assertions “in good faith that the consumer has been or is
about to become a victim of fraud...” — to wit: (i) “I have heard media reports that
give me a reason”; or (ii) “One of my friends or family members is a victim of
identity theft.” Worse, LifeLock allows customers who did not, or refuse to,
disclose their reason to enroll (provided they pay LifeLock a fee).

36. LifeLock’s scheme also includes automatically renewing the initial

fraud alerts, and continuing to renew the alerts, so long as the consumer continues

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to pay LifeLock a subscription fee. This conduct effectively converts “initial” fraud
alerts into perpetual or indefinite “initial” alerts. The FCRA does not authorize
indefinite fraud alerts under any of the three categories of alerts established by
Congress.

37. LifeLock does not require that its customers affirmatively assert —
prior to making each request for an initial fraud alert — that they believe that they
are or about to become victims of fraud or related crime, including identity theft.
Instead, after misleading consumers into believing that lesser fears or concerns
constitute a good faith suspicion of identity theft, LifeLock seeks the consumer’s
agreement to notify LifeLock if that suspicion ever changes. The FCRA does not
authorize the placement of an initial fraud alert where that request is based upon the
consumer’s failure to retract an assertion that the consumer was or was about to
become a victim of fraud or related crime, including identity theft, which was made
in connection with a prior request for an initial fraud alert.

38. Inorder to place fraud alerts on behalf of consumers with Experian,
LifeLock has engaged in systematic fraud and concealment. Experian has
established an automated system over a toll free number to allow consumers to
quickly and easily place fraud alerts for free. Experian’s automated phone system
requires its users to input information following a series of prompts. Although the
precise wording of the prompts has varied over time, the substance has not. These
prompts require, among other things, the caller to respond affirmatively to
statements such as: (i) “if you believe your credit information is being used
fraudulently, press 3”; (ii) “to add an alert to your credit report through our
automated system, press 2”; and (iii) “if you suspect you are a victim of fraud and
want to add a temporary initial fraud security alert to your account, press 1.” The
prompts also ask the caller to enter personal information, such as “enter your social
security number,” “enter your 5 digit ZIP code now,” and “enter the numeric

portion of your address now.”

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Oo aA A Bk WO NHNeKF OOD wN DH FF WY NY ©

 

39. After calling Experian’s telephone system, LifeLock responds
affirmatively to these prompts by pressing the corresponding number and by
entering in the requested information. This is fraud: (i) LifeLock did not believe
that its own credit information was being used fraudulently or that it was a victim
of fraud; (ii) LifeLock was not seeking to add an alert to its credit reports;

(iii) LifeLock was not seeking a temporary alert (but was seeking to craft an
indefinite or perpetual alert for someone else); and (iv) LifeLock did not enter its
own social security number, ZIP code or address.

40. Experian’s automated system also includes a prompt for personal
representatives requesting a fraud alert on the behalf of another to press the
appropriate number, with corresponding instructions to submit a written request to
Experian. LifeLock did not respond affirmatively to that prompt or make the
written submission that Experian’s instructions required.

41. Further, LifeLock did not have a good faith suspicion that the consumer
had been or was about to become a victim of fraud or related crime, including
identity theft. LifeLock knew that, in many cases, the consumers on whose behalf
it was surreptitiously and illegally requesting the placement of initial fraud alerts
were instead acting on desires to proactively prevent identity theft, generalized
concern about identity theft, the suspected victimization of a person other than the
consumer, on the basis of media reports about identity theft, or even a desire not to
receive junk mail.

42. Additionally, many of LifeLock’s customers were not affirmatively
asserting, at the time that LifeLock made the request for the placement of a fraud
alert, that they had been or were about to become a victim of fraud. Instead, the
customers had simply failed to retract assertions made months or years previously
in connection with a prior request for an initial fraud alert.

43. In addition to making express misrepresentations to Experian to induce

Experian place fraud alerts on behalf of LifeLock, LifeLock engaged in an

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oN TO ON BW NY KF OO WN DNA BP WN YF O&O

 

elaborate scheme to disguise its activities, including laundering the fraud alerts
through the other national credit reporting agencies.

44. LifeLock placed large numbers of fraud alerts, as many as thousands
per day, through Experian’s toll-free number using a single telephone number based
in Canada. This caused Experian to incur significant costs in maintaining its toll-
free number, which is toll-free to consumers, but which Experian must pay for on a
per call basis.

45. After Experian discovered that the calls were placed by LifeLock, not
consumers as LifeLock had represented, Experian attempted to block calls from this
number. LifeLock then attempted to disguise its activities by placing calls through
another phone bank, this time in Pennsylvania, which Experian again discovered
and attempted to block. LifeLock then resorted to larger banks of telephone
numbers in an attempt to further disguise its activities; Experian once again
discovered LifeLock’s activities and attempted to block the calls. Upon
information and belief, Experian’s efforts to completely block all of LifeLock’s
improper phone calls into Experian’s system have been unsuccessful, and LifeLock
continues to improperly use Experian’s phone system to place fraud alerts on behalf
of consumers.

46. LifeLock also continues to place fraud alerts with Experian by
laundering these alerts through Trans Union and Equifax. LifeLock games the
automatic referral system for fraud alerts established in 15 U.S.C. § 1681c-
1(a)(1)(B) by fraudulently representing to Trans Union and Equifax that LifeLock
is a “consumer” or “individual” placing a fraud alert on its own credit file, and
concealing its identity as a corporation from Trans Union and Equifax. Trans
Union and Equifax then automatically forward such alerts to Experian. When
Experian receives those alerts, Experian: (i) is unable to determine whether the
referred alerts were placed by LifeLock or whether they were placed by consumers;

and (ii) must honor the fraud alerts as if placed by consumers directly with

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Oo TNO A BR WN KF OOo wos DN FF WN YF O&O

 

Experian. If Experian could effectively determine which fraud alerts were placed
by LifeLock, Experian would block such requests.

47. In order to maximize the number of consumers who request LifeLock
to place fraud alerts with Experian, LifeLock has engaged in a campaign to mislead
consumers into enrolling for LifeLock’s service. LifeLock markets its product
through its website located at www.lifelock.com, through press releases and news
outlets, and through television and radio commercials. The representations made in
LifeLock’s marketing are false, misleading, and fail to disclose material facts
regarding the service offered by LifeLock.

48. LifeLock Misrepresents Its Authority And Ability To Place Alerts.
LifeLock misrepresents and creates the overall net impression that LifeLock can
place fraud alerts on behalf of consumers even though the FCRA does not require
credit reporting agencies to honor requests made by corporations. Specific
misrepresentations include, inter alia:

(i) | “[W]e will, upon enrollment...request that Equifax, Experian
and TransUnion, or other credit bureau [sic] as may become
appropriate, place fraud alerts on your consumer to the extent
permitted by 15 U.S.C. § 1681c-1.” (LifeLock Website at the
webpage address: www.lifelock.com/about-us/about-
lifelock/terms-and-conditions, dated Jan. 26, 2008.)

(ii) “[Wl]e...use integrity and operate within the law.” (LifeLock
Website at the webpage address: www.lifelock.com/lifelock-for-
people/who-we-are/who-uses-lifelock, dated Jan. 26, 2008.)

49. LifeLock Misrepresents What Constitutes A Sufficient Good Faith
Belief Regarding Identity Theft. LifeLock induces consumers to enroll in its
service by misleading them as to what constitutes a “good faith.. .suspicion that the
consumer has been or is about to become a victim of fraud or related crime,

including identity theft.” LifeLock creates the net impression that general concerns

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co DA AN BR WON F Oo Oo wm ND NH FW NY YF OS

 

about identity theft or the proactive desire to prevent identity theft is a sufficient
basis to place a fraud alert. They are not. LifeLock’s website repeatedly touts
LifeLock as “proactive identity theft protection.” (LifeLock Website at the webpage
address: www.lifelock.com, dated Jan. 26, 2008.) LifeLock’s website includes
testimonials from customers who do not express any suspicion that they were or
were about to become the victim of identity theft: “I had seen a new report about
LifeLock. The CEO gave out his social security number on TV! The reporter tried
to use it to open new accounts and couldn’t. That’s when I signed up.” (LifeLock
Website at the webpage address: www.lifelock.com, dated Jan. 26, 2008.)
LifeLock’s advertisements and website suggest that a desire to end junk mail is a
sufficient reason to cause LifeLock to place fraud alerts: “[A]II that mail is just so
irritating. Many of our clients tell us that this alone is worth the price.” (LifeLock
Website at the webpage address: www.lifelock.com/lifelock-for-people, dated
Jan. 26, 2008.) LifeLock’s website even includes testimonials from individuals
who enrolled in LifeLock even though they were skeptical that they needed
protection from identity theft: “When I first learned about a company called
LifeLock that protects families from identity theft, my husband was skeptical. I
signed us up anyway, and forgot about it.” (LifeLock Website at the webpage
address: www.lifelock.com, dated Jan. 26, 2008.) LifeLock’s order form asks
consumers to state “why do you think you or your family members will become a
victim of identity theft?” Among the answers scripted by LifeLock are responses
that are not assertions “in good faith that the consumer has been or is about to
become a victim of fraud...” such as: (i) “I have heard media reports that give me a
reason”; or (ii) “One of my friends or family members is a victim of identity theft.”
LifeLock also allows customers who did not, or refuse to, disclose their reason
to enroll. .

50. LifeLock Misrepresents That Everyone Is Entitled To Fraud Alerts

As A Preventative Measure. LifeLock misrepresents, and creates the overall net

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Oo ND OA A BW NH KF OO wON DH FF WY YF S&S

 

impression, that all individuals are entitled to receive a fraud alert. They are not.

The FCRA only allows individuals who “assert[] in good faith a suspicion that the

consumer has been or is about to become a victim of fraud or related crime” to

place an initial fraud alert on their credit files. LifeLock also makes such specific

misrepresentations, including, inter alia:

(i)

(ii)

(iii)

(iv)

“lP]roactive identity theft protection.” (LifeLock Website at the
webpage address: www.lifelock.com, dated Jan. 26, 2008.)

“The key that everybody can do is go out and place a fraud alert
with the major credit bureaus.” (Statement by Todd Davis, CEO
of LifeLock, Inc., in article titled “Fraud alerts can protect ID,”
www.azstarnet.com/business/202488, Sept. 22, 2008.)

“Any individual with an identity worth protecting can benefit
from LifeLock proactive identity theft services.” (LifeLock
Website at the webpage address: www.lifelock.com/lifelock-for-
people/who-we-are/who-uses-lifelock, dated Jan. 26, 2008.)
“LifeLock, the industry leader in proactive identity theft
protection, offers a proven solution that prevents your identity
from being stolen before it happens.” (LifeLock Website at the
webpage address: www.lifelock.com, dated Jan. 26, 2008.)
“This is the kind of preventative measures all companies should
be taking for their employees and the people they serve.”
(LifeLock press release dated January 8, 2008, located at
www.lifelock.com/about-us/2008-press-release-narfe-premier-
federal-credit-union-selects-lifelock-to-provide-protection-to-

employees-and-members.)

51. LifeLock Misrepresents That Consumers Are Entitled To

Automatic Renewals. LifeLock misrepresents and creates the overall net

impression that consumers are entitled to receive automatic renewals of fraud alerts

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without an assertion of a good faith suspicion that the consumer has been or is
about to become a victim of fraud or related crime.

52. LifeLock Misrepresents To Consumers The Scope Or Effectiveness
Of Fraud Alerts. LifeLock misrepresents and creates the overall net impression
that LifeLock can protect against all types of fraud including computer hacking and
accessing a bank account using stolen passwords when fraud alerts only are
effective against fraud that requires accessing a credit report. LifeLock also makes
such specific misrepresentations, including, inter alia:

(i) “Here’s a report I have on John Sheiper, a young hacker — sent
out a virus, put more than 250,000 computers to work stealing
passwords to bank accounts from people around the world.”
(LifeLock radio advertisement.)

(ii) “This very second, someone could be using your identity
to...clear out your bank accounts ...Stop it from happening now.
Call LifeLock...” (LifeLock radio advertisement.)

(iii) “Youll find out how to lock down your identity making it
virtually impossible for identity thieves to wreak havoc on your
good name...” (LifeLock radio advertisement.)

53. LifeLock Misrepresents That Fraud Alerts Prevents Access To
Credit Reports. LifeLock misrepresents and creates the overall net impression
that LifeLock “locks” the credit file of a consumer, when in fact it only requests the
placement of a fraud alert in the credit file, and does not restrict access to the credit
file in any way. Such specific misrepresentations include, inter alia:

(i) The use of the name “LifeLock;”

(ii) “As our name states, we’re the lock, and you hold the key;”
(LifeLock Website at the webpage address:
www.lifelock.com/lifelock-for-people/who-we-are/how-we-do-

it/how-is-lifelock-different-from-a-credit-monitoring-system,

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oN ON BB WHY KF OO wo N BD NH FF WY FF O&O

 

dated Jan. 26, 2008.)

(iii) “Our goal was to lock down every individual’s private
information so no one except that individual can approve of its
use.” (LifeLock Website at the webpage address:
www.lifelock.com/lifelock-for-people/who-we-are/who-is-
lifelock, dated Jan. 26, 2008.)

(iv) “Which would you rather have, a lock on your door keeping the
thieves out, or an alarm telling you after the thief has ripped you
off.” (LifeLock Website at the webpage address:
www.lifelock.com/lifelock-for-people/how-we-do-it/how-is-
lifelock-different-from-a-credit-monitoring-system, dated
Jan. 26, 2008.)

54. LifeLock Creates The Impression That Obtaining Fraud Alerts
Through Credit Bureaus Is More Difficult. LifeLock misrepresents and creates
the overall net impression that consumers cannot obtain fraud alerts effectively or
easily from any other source, and that obtaining fraud alerts without subscribing to
LifeLock is a time-consuming, difficult process, when in fact it is easier to obtain a
fraud alert directly with the credit bureaus than it is with LifeLock. Such specific
misrepresentations include, inter alia, “Think of it this way: all of us can change
our own oil, but most of us have it done by specialists. We’d like to think that what
we do is more complicated than changing oil, but you get the idea.” (LifeLock
Website at the webpage address: www.lifelock.com/lifelock-for-people, dated
Jan. 26, 2008.) In fact, consumers can place fraud alerts with all three national
consumer reporting agencies with a simple and free telephone call to Experian.

55. LifeLock Misrepresents That Only It Can Place Fraud Alerts.
LifeLock misrepresents, and creates the overall net impression, that only it can
place fraud alerts, that fraud alerts must be purchased through LifeLock, and that
the fraud alerts placed by LifeLock are different or more effective than fraud alerts

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that consumers can place themselves directly through the credit bureaus. LifeLock
claims, for example: “At LifeLock, We Guarantee Your Good Name. No one else
does because no one else can.” (LifeLock Website at the webpage address:
www.lifelock.com, dated Jan. 26, 2008.)

56. LifeLock Misrepresents That It May Place Fraud Alerts Directly
With Experian. LifeLock misrepresents, and creates the overall net impression,
that it may place fraud alerts with Experian, does not disclose to consumers that
Experian has attempted to block the placement of fraud alerts by LifeLock, or that
LifeLock has placed fraud alerts with Experian by disguising its identity and
fraudulently misrepresenting to Experian that it was the consumer. Such specific
misrepresentations include, inter alia:

(i)  “[W]e ask the credit bureaus to set fraud alerts on your behalf.
Usually, this is done through our automated systems and the
alerts are set within an hour.” (LifeLock Website at the webpage
address: www.lifelock.com/lifelock-for-people, dated
Jan. 26, 2008.)

(ii) “[W]e will, upon enrollment...request that Equifax, Experian
and TransUnion, or other credit bureau [sic] as may become
appropriate, place fraud alerts on your consumer to the extent
permitted by 15 U.S.C. § 1681c-1.” (LifeLock Website at the
webpage address: www.lifelock.com/about-us/about-
lifelock/terms-and-conditions, dated Jan. 26, 2008.)

57. LifeLock Misrepresents That Creditors Will Call Consumers To
Verify The Identity Of The Consumer. LifeLock misrepresents and creates the
overall net impression, that consumers will receive a telephone call when the
consumers’ personal information is used to apply for new credit, even though there
is no requirement under the FCRA that initial fraud alerts require creditors to place

a telephone call to consumers. Such representations include, inter alia:

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“Once fraud alerts have been placed, you will receive a phone
call — most people register their cell phone numbers — anytime
someone tries to open a credit line in your name.” (Statement by
Todd Davis, CEO of LifeLock, Inc., in article titled “Fraud alerts
can protect ID,” www.azstarnet.com/business/202488,

Sept. 22, 2008.)

“If its you trying to open the account, then you’ll get the call
while you’re standing there.” (Statement by Todd Davis, CEO of
LifeLock, Inc., in article titled “Fraud alerts can protect ID,”
www.azstamet.com/business/202488, Sept. 22, 2008.)

“You should receive a phone call from the bank asking if you are
actually the person applying for credit in your name.” (LifeLock
Website at the webpage address: www.lifelock.com/lifelock-for-
people/what-we-do/how-does-lifelock-protect-my-identity, dated
Jan. 26, 2008.)

“If it’s not you or if you don’t answer, then the credit application
is declined at the other end...” (Statement by Todd Davis, CEO
of LifeLock, Inc., in article titled “Fraud alerts can protect ID,”
www.azstarnet.com/business/202488, Sept. 22, 2008.)

“When someone seeks to open a new account, the creditor will
call to confirm that it’s really you through a series of identifying
questions.” (Statement by Todd Davis, CEO of LifeLock, Inc., in
article titled “Protecting identity among the tell-all generation,”
www.startribune.com/templates/Print_This_Story?sid=1191451,
Aug. 14, 2007.)

LifeLock Fails To Adequately Disclose To Consumers The Source

Of The Credit Report Ordered By LifeLock. LifeLock represents to consumers

that its service includes a credit report from each of the three credit bureaus every

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12 months. LifeLock fails to adequately disclose, however, that the credit report
ordered by LifeLock on behalf of the consumer is the free annual credit report to
which consumers are entitled; fails to adequately disclose that LifeLock’s ordering
of the credit report makes the consumer ineligible to order the report for the next 12
months; fails to adequately disclose that ordering the free credit report from
www.annualcreditreport.com is duplicative of the free credit report consumers are
entitled to when placing a fraud alert under 15 U.S.C. § 1681c-1(a)(2)(B).

59. On February 11, 2008, Experian sent LifeLock a letter via express mail
informing LifeLock that Experian only was required to honor requests for fraud
alerts made by “consumers” or “individuals,” not corporate entities such as
LifeLock; informing LifeLock that its practice of automatically renewing such
fraud alerts violated the FCRA’s statutory scheme; and demanding that LifeLock
cease and desist placing fraud alerts on behalf of consumers with any of the three
credit bureaus and renewing such fraud alerts. Experian further informed LifeLock
that if it continued in the activities described above, Experian would seek all
available remedies against LifeLock. Undeterred, LifeLock continues to engage in
its illegal and fraudulent activities.

FIRST CAUSE OF ACTION
(Declaratory Judgment Act against LifeLock and
DOES 1 through 10)

60. Experian repeats and reasserts the averments contained in Paragraphs 1
through 59 above as though fully set forth herein.

61. An actual controversy has arisen and now exists between Experian and
LifeLock relating to the parties’ rights and obligations under 15 U.S.C. § 1681c-1
for which Experian desires a declaration of rights.

62. A declaratory judgment, under 28 U.S.C. § 2201, is necessary in that
Experian contends, and LifeLock denies, the following:

(i) LifeLock neither is a “consumer” nor “an individual” “acting on

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behalf of or as a personal representative of a consumer” within
the meaning of 15 U.S.C. § 1681c-1(a)(1), and is not authorized
to submit requests for initial fraud alerts to a consumer reporting
agency under 15 U.S.C. § 1681c-1.

A request for an initial fraud alert submitted by LifeLock is not a
“direct request of a consumer, or an individual acting on behalf
of or as a personal representative of a consumer,” within the
meaning of 15 U.S.C. § 1681c-1(a)(1), and Experian, as a
consumer reporting agency, is not required by 15 U.S.C.

§ 1681c-1(a)(1) to follow the procedures set forth in 15 U.S.C.

§ 1681c-1(a)(1)(A) and 15 U.S.C. § 1681c-1(a)(1)(B) in
connection with a request for an initial fraud alert submitted

by LifeLock.

Experian, as a consumer reporting agency, is not required to
follow the procedures set forth in 15 U.S.C. § 1681c-1(e) in
connection with a referral of a fraud alert from another consumer
reporting agency where the request for the initial fraud alert was
submitted to the referring consumer reporting agency by
LifeLock.

Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert where the request for that
initial fraud alert was submitted to the consumer reporting
agency by LifeLock.

LifeLock is not authorized to submit a request for an initial fraud
alert to Experian or other consumer reporting agency prior to the
expiration of any initial fraud alert in the file of the consumer.

Experian, as a consumer reporting agency, is not required to

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follow the procedures set forth by 15 U.S.C. § 1681c-1(a)(1) and
15 U.S.C. § 1681c-1(a)(1)(B), when a request for an initial fraud
alert is requested to be placed in the file of a consumer prior to
the expiration of any initial fraud alert in the file of that
consumer.

Experian, as a consumer reporting agency, is not required to
follow the procedures set forth by 15 U.S.C. § 1681c-1(a)(1) and
15 U.S.C. § 1681c-1(a)(1)(B), when a request for an initial fraud
alert is referred from another credit reporting agency prior to the
expiration of any initial fraud alert in the file of that consumer.
Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert where the request for that
initial fraud alert was requested to be placed in the file of a
consumer prior to the expiration of any initial fraud alert in the
file of that consumer.

Under 15 U.S.C. § 1681c-1(a)(1), a consumer or individual
requesting the placement of an initial fraud alert must
affirmatively assert a good faith suspicion that the consumer has
been or is about to become a victim of fraud or related crime,
including identity theft, at the time the request for placement of
that initial fraud alert is made.

LifeLock is not authorized to submit a request for an initial fraud
alert to Experian or other consumer reporting agency, where the
consumer has not affirmatively asserted in good faith that the
consumer has been or is about to become a victim of fraud or
related crime, including identity theft, at the time that the request

for the placement of that initial fraud alert is made.

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oT KN ON PB WY NO KH OO ANAND DH FP WN YF CO

 

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(xi)

(xii)

(xiii)

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Experian, as a consumer reporting agency, is not required by

15 U.S.C. § 1681c-1(a)(1) to follow the procedures set forth in
15 U.S.C. § 1681c-1(a)(1)(A) and 15 U.S.C. § 1681c-1(a)(1)(B),
in connection with a request for an initial fraud alert where the
consumer has not affirmatively asserted in good faith that the
consumer has been or is about to become a victim of fraud or
related crime, including identity theft, at the time that the request
for the placement of that initial fraud alert is made.

Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert where the consumer has not
affirmatively asserted in good faith that the consumer has been
or is about to become a victim of fraud or related crime,
including identity theft, at the time that the request for the
placement of that initial fraud alert is made.

LifeLock is not authorized to submit a request for an initial fraud
alert to Experian or other consumer reporting agency alert where
the request for that initial fraud alert is based on the consumer’s
failure to retract an assertion that the consumer was or was about
to become a victim of fraud or related crime, including identity
theft, which was made in connection with a prior request for an
initial fraud alert.

Experian, as a consumer reporting agency, is not required by

15 U.S.C. § 1681c-1(a)(1) to follow the procedures set forth in
15 U.S.C. § 1681c-1(a)(1)(A) and 15 U.S.C. § 1681c-1(a)(1)(B),
in connection with a request for an initial fraud alert which is
based on the consumer’s failure to retract an assertion that the

consumer was or was about to become a victim of fraud or

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related crime, including identity theft, which was made in
connection with a prior request for an initial fraud alert.

(xv) Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert, which is based upon the
consumer’s failure to retract an assertion that the consumer was
or was about to become a victim of fraud or related crime,
including identity theft, and which was made in connection with
a prior request for an initial fraud alert.

63. By reason of acts by LifeLock and DOES 1-10 alleged herein, Experian
has suffered, and will continue to suffer, irreparable harm, for which Experian has
no adequate remedy at law, unless and until the conduct by LifeLock and DOES 1-
10 is enjoined.

SECOND CAUSE OF ACTION

(Concealment/Suppression of Fact against LifeLock and

DOES 1 through 10)

64. Plaintiff repeats, re-alleges and incorporates herein by reference the
allegations of paragraphs 1 through 63, inclusive, above.

65. From on or about, June 2005, LifeLock and DOES 1-10 have
surreptitiously submitted requests for initial fraud alerts to Experian and other
consumer reporting agencies.

66. In submitting requests for initial fraud alerts to Experian, and other
consumer reporting agencies, LifeLock and DOES 1-10 actively have concealed
and suppressed, and continue to conceal and suppress:

(i) their corporate status and identity as the party submitting the
requests;

(ii) that the party submitting the request for the initial fraud alert was

neither the consumer nor an individual acting on behalf of or as a

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personal representative of a consumer;

that they did not, at the time they surreptitiously requested the
placement of initial fraud alerts, have a good faith a suspicion
that the consumer on whose behalf they requested the alert had
been or was about to become a victim of fraud or related crime,
including identity theft;”

that the consumers on whose behalf they had surreptitiously
requested the placement of initial fraud alerts were not, at the
time of the request, “assert[ing] in good faith a suspicion that the
consumer has been or is about to become a victim of fraud or
related crime, including identity theft;”

that they were placing fraud alerts on behalf of consumers based
on assertions regarding the consumers’ belief about identity theft
which did not constitute a “good faith...suspicion that the
consumer has been or is about to become a victim of fraud or
related crime,” including a desire to proactively prevent identity
theft, a generalized concern about identity theft, because an
individual they knew had been a victim of identity theft, on the
basis of media reports about identity theft, or a desire not to
receive junk mail;

that the additional requests for initial fraud alerts they
surreptitiously submitted were not based on a concurrent,
affirmative assertion by the consumer that he or she had been or
was about to become a victim of fraud, and that such requests are
instead based on the consumer not retracting an assertion made
in connection with a prior request for an initial fraud alert;

that their intent was to sequentially place initial fraud alert

requests to create an indefinite or perpetual fraud alert.

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67. LifeLock and DOES 1-10 concealed and suppressed, and continue to

conceal and suppress, these facts by, inter alia:

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not providing proof of its identity as the requesting party in
connection with the requests for initial fraud alerts it placed;
using a phone number other than those registered to LifeLock to
place calls to Experian’s toll-free number;

employing third parties and foreign phone banks to place
requests for initial fraud alerts;

changing phones and/or numbers used to place requests for
initial fraud alerts after prior phones and phone numbers had
been detected and attempted to be blocked by Experian;

by responding affirmatively, inputting information in response
to, and continuing to use the automated system, after automated
prompts that ask: (i) “if you believe your credit information is
being used fraudulently, press 3”; (ii) “to add an alert to your
credit report through our automated system, press 2”; (iii) “if you
suspect you are a victim of fraud and want to add a temporary
initial fraud security alert to your account, press 1”; and (iv) the
caller to enter personal information, such as “enter your social
security number,” “enter your 5 digit ZIP code now,” and “enter
the numeric portion of your address now;”

completing the request for placement of initial fraud alerts over
the phone, rather than submitting documents establishing that
the requesting party was a bona fide personal representative of
the consumer as prompted by the automated system;

submitting requests for initial fraud alerts to other credit
reporting agencies, thereby requiring the other agencies to refer

the alerts to Experian and laundering the identity of the party

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making the initial request.

68. LifeLock and DOES 1-10 made the non-disclosures, concealments and
suppressions of fact alleged herein with the intent to induce Experian (and the other
consumer reporting agencies) to act in reliance thereon, including placing fraud
alerts in the files of the customers of LifeLock and DOES 1-10, providing free
credit reports to customers of LifeLock and DOES 1-10, and to refer the requests to
the other consumer reporting agencies, and with the intention of depriving Experian
of property or otherwise causing injury.

69, At the time that LifeLock and DOES 1-10 made the failures to disclose
and suppression of fact herein alleged, Experian was unaware of these facts, and
would not have acted as it did if it had known the undisclosed, concealed or
suppressed facts.

70. Asa proximate result of LifeLock’s and DOES 1-10 failure to disclose,
concealment and suppression of fact, Experian has incurred, and continues to incur,
costs and has suffered, and continues to suffer, damages.

71. In doing the things aforementioned, LifeLock and DOES 1-10 have
been guilty of malice, oppression, and fraud, and Experian is, therefore, entitled to
recover punitive damages.

72. By reason of acts by LifeLock and DOES 1-10 alleged herein, Experian
has suffered, and will continue to suffer, irreparable harm, for which Experian has
no adequate remedy at law, unless and until the conduct by LifeLock and DOES 1-
10 is enjoined.

THIRD CAUSE OF ACTION
(Intentional Misrepresentation against LifeLock and
DOES 1 through 10)
73. Plaintiff repeats, re-alleges and incorporates herein by reference the

allegations of paragraphs 1 through 72, inclusive, above.

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74. From on or about, June 2005, during the course of requesting the
placement of thousands of initial fraud alerts on consumers’ files through the toll-
free number maintained by Experian, LifeLock and DOES 1-10 misrepresented:

(i) the identity of the parties requesting the placement of the fraud alerts; (ii) that
they were individuals seeking placement of a fraud alert in their own files; (iii) that
they were individuals with a good faith belief that they had been the victim of
fraud; and (iv) that they had a good faith suspicion that the consumer had been or
was about to become a victim of fraud or related crime, including identity theft.
Experian did not discover LifeLock’s wrongful conduct until 2007.

75. LifeLock and DOES 1-10 made these misrepresentations by way of
responding affirmatively to, or entering information in response to, the prompts by
Experian’s automated telephone system for the placement of fraud alerts by
individuals. Although the precise wording of the prompts has varied over time, the
substance has not. These prompts require, among other things, the caller to respond
affirmatively to statements such as: (i) “if you believe your credit information is
being used fraudulently, press 3”; (ii) “to add an alert to your credit report through
our automated system, press 2”; and (iii) “if you suspect you are a victim of fraud
and want to add a temporary initial fraud security alert to your account, press 1.”
The prompts also ask the caller to enter personal information, such as “enter your
social security number,” “enter your 5 digit ZIP code now,” and “enter the numeric
portion of your address now.”

76. The representations of LifeLock and DOES 1-10 in response to these
prompts were false. In fact, LifeLock and DOES 1-10: (i) did not believe that their
credit information was being used fraudulently or that they were a victim of fraud;
(ii) were not seeking to add an alert to their credit reports; (iii) were not seeking a
temporary alert, but were seeking to craft an indefinite or perpetual alert; and
(iv) entered social security numbers, ZIP codes or addresses, which were not

their own.

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77. Further, LifeLock and DOES 1-10 did not have a good faith suspicion
that the consumer on whose behalf they were surreptitiously requesting a fraud alert
had been or was about to become a victim of fraud or related crime, including
identity theft. LifeLock and DOES 1-10 knew that, in many cases, the consumers
on whose behalf they were surreptitiously requesting the placement of initial fraud
alerts, were instead acting on desires to proactively prevent identity theft,
generalized concerns about identity theft, the suspected victimization of a person
other than the consumer, on the basis of media reports about identity theft, or even
the desire not to receive junk mail.

78. Further, many of the customers of LifeLock and DOES 1-10 were not
affirmatively asserting that, at the time that LifeLock and DOES 1-10 made the
request for the placement of a fraud alert, they had been or were about to become a
victim of fraud. Instead, the customers simply had failed to retract assertions made
months or years previously in connection with a prior request for an initial
fraud alert.

79. Upon information and belief, LifeLock and DOES 1-10 have made
similar misrepresentations in the course of placing alerts through the automated
systems maintained by other consumer reporting agencies, including Equifax and
TransUnion.

80. At the time they made these misrepresentations, LifeLock and DOES 1-
10 knew that these representations were false.

81. LifeLock and DOES 1-10 made, and continue to make, the
representations herein alleged with the intention of inducing Experian, Trans Union
and Equifax to place fraud alerts in the credit files of the customers of LifeLock and
DOES 1-10, send notice to consumers that they are entitled to a free credit report,
send a free credit report to customers who request one and “refer the information

regarding the fraud alert to each of the credit reporting agencies,” and, once

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referred, treat the referral “as though the agency received the request from the
consumer directly.”

82. Experian was unaware of the falsity of the misrepresentations made by
LifeLock and DOES 1-10, and acted in justifiable reliance upon those
misrepresentations, in that Experian, inter alia, placed initial fraud alerts in the files
of customers of LifeLock and DOES 1-10, sent notice to consumers that they are
entitled to a free credit report, and generated and mailed free credit reports to those
customers who requested such reports.

83. Experian was unaware of the falsity of the misrepresentations made by
LifeLock and DOES 1-10 to Equifax and TransUnion, and acted in justifiable
reliance upon those representations, in that Experian was required to place fraud
alerts on consumers’ files which were referred to Experian from Trans Union
and Equifax.

84, Lifelock and DOES 1-10 made the intentional misrepresentations
herein alleged with the intention of depriving Experian of property or otherwise
causing injury.

85. Asaproximate result of the intentional misrepresentations of LifeLock
and DOES 1-10, Experian has incurred, and continues to incur, costs and has
suffered, and continues to suffer, damages.

86. In doing the things aforementioned, LifeLock and DOES 1-10 were
guilty of malice, oppression, and fraud, and Experian is, therefore, entitled to
recover punitive damages.

87. By reason of acts by LifeLock and DOES 1-10 alleged herein, Experian
has suffered, and will continue to suffer, irreparable harm, for which Experian has
no adequate remedy at law, unless and until the conduct by LifeLock and DOES 1-

10 is enjoined.

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FOURTH CAUSE OF ACTION
(Negligent Misrepresentation against LifeLock and
DOES 1 through 10)

88. Experian repeats, realleges, and incorporates by reference the
allegations contained in Paragraph | through 87, inclusive.

89. At the time LifeLock and DOES 1-10 made the representations herein
alleged, LifeLock and DOES 1-10 did not have reasonable ground for believing that
those representations were true.

90. LifeLock and DOES 1-10 made, and continue to make, the
misrepresentations herein alleged with the intention of inducing Experian,
TransUnion and Equifax to place fraud alerts in the credit files of the customers of
LifeLock and DOES 1-10, send those costumers a free credit report and “refer the
information regarding the fraud alert to each of the credit reporting agencies,” and,
once referred, treat the referral “as though the agency received the request from the
consumer directly.”

91. Experian was unaware of the falsity of the representations made by
LifeLock and DOES 1-10, and acted in justifiable reliance upon the truth of those
representations, in that Experian, inter alia, placed initial fraud alerts in the files of
customers of Lifel.ock and DOES 1-10, sent notice to consumers that they are
entitled to a free credit report, and generated and mailed free credit reports to those
customers who requested such reports.

92. Experian was unaware of the falsity of the representations made by
LifeLock and DOES 1-10 to Equifax and TransUnion, and acted in justifiable
reliance upon those representations, in that Experian was required to place fraud
alerts on consumers’ files which were referred to Experian from Trans Union
and Equifax.

93. Asaresult of Experian’s reliance upon the truth of the representations

of LifeLock and DOES 1-10, and as a direct, proximate and foreseeable result of

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the above-described conduct, Experian sustained compensatory, incidental and
consequential damages in an amount to be proven at trial.

94. By reason of the acts by LifeLock and DOES 1-10 alleged herein,
Experian has suffered, and will continue to suffer, irreparable harm, for which
Experian has no adequate remedy at law, unless and until the conduct by LifeLock
and DOES 1-10 is enjoined.

FIFTH CAUSE OF ACTION
(Lanham Act against LifeLock and
DOES 1 through 10)

95. Experian repeats, realleges, and incorporates by reference the
allegations contained in Paragraph 1 through 94, inclusive.

96. Since in or about June 2005, the website, television commercials and
radio advertisements of LifeLock and DOES 1-10 are commercial
advertisements/promotional materials that have been placed into interstate
commerce by LifeLock and DOES 1-10 in connection with the sale and/or
marketing of its fraud alert placement service.

97. Many of the material descriptions and/or representations of fact
contained in its advertisements are false and/or misleading, and therefore
misrepresent the nature or qualities of goods/commercial activities of LifeLock and
DOES 1-10. Such representations are false and/or misleading in that they:

(i) misrepresent, and create the overall net impression, that
LifeLock can place fraud alerts on behalf of consumers, when
the FCRA does not require credit reporting agencies to honor
requests made by corporations;

(ii) misrepresent, and create the overall net impression that everyone
is entitled to receive a fraud alert, when the FCRA only allows

individuals who “assert[] in good faith a suspicion that the

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consumer has been or is about to become a victim of fraud or
related crime” to place an initial fraud alert on their credit files;
misrepresent, and create the overall net impression, that
consumers are entitled to receive automatic renewals of fraud
alerts without an assertion of a good faith suspicion that the
consumer has been or is about to become a victim of fraud or
related crime;

misrepresent, and create the overall net impression, that
consumers are entitled to receive automatic renewals of fraud
alerts without disclosing that the FCRA requires consumers to
provide an identity theft report in order to receive

extended alerts;

misrepresent, and create the overall net impression, that
LifeLock can protect against all types of fraud including
computer hacking, and accessing a bank account using stolen
passwords when fraud alerts are only effective against fraud that
requires accessing a credit report;

misrepresent, and create the overall net impression, that
LifeLock “locks” a credit file of a consumer, when, in fact, it
only requests the placement of a fraud alert in the credit file, and
does not restrict access to the credit file in any way;
misrepresent, and create the overall net impression that fraud
alerts must be purchased through LifeLock, and that the fraud
alerts placed by LifeLock are different or more effective than
fraud alerts that consumers can place themselves directly through
the credit bureaus;

misrepresent, and create the overall net impression, that

consumers cannot obtain fraud alerts effectively or easily from

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any other source, and that obtaining fraud alerts without
subscribing to LifeLock is a time-consuming, difficult process,
when in fact it is easier to obtain a fraud alert directly with the
credit bureaus than it is with LifeLock;

(ix) misrepresent, and create the overall net impression, that
LifeLock is allowed to place fraud alerts directly with Experian,
when in fact Experian has attempted to block the placement of
fraud alerts by LifeLock, and LifeLock disguises its identity and
fraudulently misrepresents to Experian that LifeLock is
the consumer;

(x) misrepresent, and create the overall net impression, that
consumers will receive a telephone call when the consumers’
personal information is used to apply for new credit, when there
is no requirement under the FCRA that initial fraud alerts require
creditors to place a telephone call to consumers.

98. The above-described acts of LifeLock and DOES 1-10 constitute false
advertising in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

99, The above-described acts of LifeLock and DOES 1-10 actually
deceived or have the tendency to deceive a substantial segment of consumers who
see or hear such representations.

100. The above-described acts of LifeLock and DOES 1-10 are material, in
that they are likely to influence a consumer’s purchasing decision.

101. Asaresult of the acts of LifeLock and DOES 1-10, Experian, as a
competitor of LifeLock and DOES 1-10, has suffered, and will continue to suffer,
damage to its business reputation and goodwill and the loss of sales and profits.
Such damages include:

(i) | Damage to Experian’s reputation regarding its process for

allowing consumers to place fraud alerts in consumers’ Experian

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credit file;

(ii) Losses from reduced orders for credit reports by consumers to
whom Experian is required to provide a free credit report upon
receipt of a request for a fraud alert;

(iii) Losses from reduced orders by consumers for credit freezes
placed by Experian on consumers’ credit files.

102. Additionally, Experian has incurred, and will continue to incur,
liability for costs and attorney's fees.

103. Upon information and belief, the above-described acts by LifeLock
and DOES 1-10 were willful and have been engaged in knowing them to be
deceptive such as to warrant the trebling of damages in order to provide just
compensation.

104. Upon information and belief, LifeLock and DOES 1-10 have unfairly
profited from the actions alleged herein, and will continue to be unjustly enriched
unless and until such conduct is enjoined.

105. By reason of acts by LifeLock and DOES 1-10 alleged herein,
Experian has suffered, and will continue to suffer, irreparable harm, for which
Experian has no adequate remedy at law, unless and until the conduct by LifeLock
and DOES 1-10 is enjoined.

SIXTH CAUSE OF ACTION
(California Business and Professions Code § 17500 against LifeLock and
DOES 1 through 10)

106. Experian repeats, realleges, and incorporates by reference, the
allegations contained in Paragraph | through 105, inclusive.

107. From on or about, June 2005, LifeLock and DOES 1-10 have engaged
in website, television, radio, and print advertising to the public offering identity
theft protection. Such advertisements are false and/or misleading representations in

that they:

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misrepresent, and create the overall net impression, that
LifeLock can place fraud alerts on behalf of consumers, when
the FCRA does not require credit reporting agencies to honor
requests made by corporations;

misrepresent, and create the overall net impression that everyone
is entitled to receive a fraud alert, when the FCRA only allows
individuals who “assert[] in good faith a suspicion that the
consumer has been or is about to become a victim of fraud or
related crime” to place an initial fraud alert on their credit files;
misrepresent, and create the overall net impression, that
consumers are entitled to receive automatic renewals of fraud
alerts without an assertion of a good faith suspicion that the
consumer has been or is about to become a victim of fraud or
related crime;

misrepresent, and create the overall net impression, that
consumers are entitled to receive automatic renewals of fraud
alerts without disclosing that the FCRA requires consumers to
provide an identity theft report in order to receive

extended alerts;

misrepresent, and create the overall net impression, that
LifeLock can protect against all types of fraud including
computer hacking, and accessing a bank account using stolen
passwords when fraud alerts are only effective against fraud that
requires accessing a credit report;

misrepresent, and create the overall net impression, that
LifeLock “locks” a credit file of a consumer, when, in fact, it
only requests the placement of a fraud alert in the credit file, and

does not restrict access to the credit file in any way;

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misrepresent, and create the overall net impression that fraud
alerts must be purchased through LifeLock, and that the fraud
alerts placed by LifeLock are different or more effective than
fraud alerts that consumers can place themselves directly through
the credit bureaus;

misrepresent, and create the overall net impression, that
consumers cannot obtain fraud alerts effectively or easily from
any other source, and that obtaining fraud alerts without
subscribing to LifeLock is a time-consuming, difficult process,
when in fact it is easier to obtain a fraud alert directly with the
credit bureaus than it is with LifeLock;

misrepresent, and create the overall net impression, that
LifeLock is allowed to place fraud alerts directly with Experian,
when in fact Experian has attempted to block the placement of
fraud alerts by LifeLock, and LifeLock disguises its identity and
fraudulently misrepresents to Experian that LifeLock is

the consumer;

misrepresent, and create the overall net impression, that
consumers will receive a telephone call when the consumers’
personal information is used to apply for new credit, when there
is no requirement under the FCRA that initial fraud alerts require

creditors to place a telephone call to consumers.

LifeLock and DOES 1-10 engaged in the advertising herein alleged

with the intent to induce members of the public to believe that they had the

authority to place fraud alert requests on their behalf and/or to induce Experian and

members of the public to believe that it had the authority to place fraud alert

requests on behalf of its subscribers.

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109. Experian has suffered injury in fact and has lost money and property
as a result of the false advertising by LifeLock and DOES 1-10.

110. In making or disseminating the statements herein alleged, LifeLock
and DOES 1-10 knew or with the exercise of reasonable care should have known
that the statements were untrue/false and/or misleading and so acted in violation of
Sections 17500 et seg. of the Business and Professions Code.

111. In making or disseminating the statements herein alleged, LifeLock
and DOES 1-10 did not intend to sell the products as advertised.

112. Unless restrained by this Court, LifeLock and DOES 1-10 will
continue to engage in untrue/false and misleading advertising, as alleged above, in
violation of Section 17500 et seg. of the Business and Professions Code, thus
tending to render judgment in the instant action ineffectual. Experian has no
adequate remedy at law in that LifeLock and DOES 1-10 will continue to engage in
untrue and misleading advertising, as alleged above, in violation of Section 17500
et seq. of the Business and Professions Code, thus engendering a multiplicity of
judicial proceedings.

SEVENTH CAUSE OF ACTION
(California Business and Professions Code § 17200 against LifeLock and
DOES 1 through 10)

113. Experian repeats, realleges, and incorporates by reference, the
allegations contained in Paragraph 1 through 112, inclusive.

114. From on or about, June 2005, LifeLock and DOES 1-10 engaged in
that acts and practices herein alleged while doing business, in that such acts and
practices were done in the course of selling its LifeLock product to consumers in
California, and throughout the United States.

115. LifeLock and DOES 1-10 have violated California Business and
Professions Code § 17200 et seq. by engaging in unlawful, unfair and fraudulent

conduct including, but not limited, to:

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misrepresenting, and creating the overall net impression, that
LifeLock can place fraud alerts on behalf of consumers, when
the FCRA does not require credit reporting agencies to honor
requests made by corporations;

misrepresenting, and creating the overall net impression that
everyone is entitled to receive a fraud alert, when the FCRA only
allows individuals who “assert[] in good faith a suspicion that
the consumer has been or is about to become a victim of fraud or
related crime” to place an initial fraud alert on their credit files;
misrepresenting, and creating the overall net impression, that
consumers are entitled to receive automatic renewals of fraud
alerts without an assertion of a good faith suspicion that the
consumer has been or is about to become a victim of fraud or
related crime;

misrepresenting, and creating the overall net impression, that
consumers are entitled to receive automatic renewals of fraud
alerts without disclosing that the FCRA requires consumers to
provide an identity theft report in order to receive

extended alerts;

misrepresenting, and creating the overall net impression, that
LifeLock can protect against all types of fraud including
computer hacking, and accessing a bank account using stolen
passwords when fraud alerts are only effective against fraud that
requires accessing a credit report;

misrepresenting, and creating the overall net impression, that
LifeLock “locks” a credit file of a consumer, when, in fact, it
only requests the placement of a fraud alert in the credit file, and

does not restrict access to the credit file in any way;

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misrepresenting, and creating the overall net impression that
fraud alerts must be purchased through LifeLock, and that the
fraud alerts placed by LifeLock are different or more effective
than fraud alerts that consumers can place themselves directly
through the credit bureaus;

misrepresenting, and creating the overall net impression, that
consumers cannot obtain fraud alerts effectively or easily from
any other source, and that obtaining fraud alerts without
subscribing to LifeLock is a time-consuming, difficult process,
when in fact it is easier to obtain a fraud alert directly with the
credit bureaus than it is with LifeLock;

misrepresenting, and creating the overall net impression, that
LifeLock is allowed to place fraud alerts directly with Experian,
when in fact Experian has attempted to block the placement of
fraud alerts by LifeLock, and LifeLock disguises its identity and
fraudulently misrepresents to Experian that LifeLock is

the consumer;

misrepresenting, and creating the overall net impression, that
consumers will receive a telephone call when the consumers’
personal information is used to apply for new credit, when there
is no requirement under the FCRA that initial fraud alerts require

creditors to place a telephone call to consumers.

In doing so, LifeLock and DOES 1-10 have:

(i)

(ii)

violated California Civil Code § 1770(a)(5) by representing that
goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities which they do not have;
violated California Civil Code § 1770(a)(7) by representing that

goods or services are of a particular standard, quality, or grade,

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or that goods are of a particular style or model, if they are
of another;

(iii) violated California Civil Code § 1770(a)(8) by disparaging the
goods, services, or business of another by false or misleading
representations of fact;

(iv) violated California Civil Code § 1770(a)(9) by advertising goods
or services with intent not to sell them as advertised;

(v) violated California Civil Code § 1770(a)(14) by representing that
a transaction confers or involves rights, remedies, or obligations
which it does not have or involve, or which are prohibited
by law;

(vi) violated 18 U.S.C. § 1343 by transmission of the
misrepresentations identified in Paragraphs 38 through 42 by
means of telephone or other interstate wire in furtherance of a
scheme to defraud Experian and the other credit reporting
agencies;

(vii) violated California’s False Advertising Law, California Business
and Professions Code § 17500;

(viii) violated the Lanham Act, 15 U.S.C. § 1125(a).

117. LifeLock and DOES 1-10 have violated California Business and
Professions Code § 17200 et seq. by engaging in unlawful, unfair and fraudulent
conduct including, but not limited to, making the misrepresentations to Experian
and other consumer reporting agencies identified in paragraphs 38 through 42
above.

118. In doing so, LifeLock and DOES 1-10 have:

(i) violated California Civil Code § 1770(a)(2) by misrepresenting
the source, sponsorship, approval or certification of goods

or services;

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(ii) violated California Civil Code § 1770(a)(3) by misrepresenting
the affiliation, connection, or association with, or certification
by, another;

(iii) violated of 18 U.S.C. § 1343 by transmission of the
misrepresentations identified in Paragraphs 48 through 58 by
means of telephone or other interstate wire in furtherance of a
scheme to defraud Experian and the other credit reporting
agencies;

(iv) violated the Lanham Act, 15 U.S.C. § 1125(a).

119. The acts and practices alleged herein constitute unlawful, unfair and/or
deceptive business practices as set forth in Business and Professions Code § 17200
et seq.

120. LifeLock and DOES 1-10 continue to engage in such unlawful, unfair
and/or deceptive business practices as identified herein to the present day, including
in its dealings with Experian, and there is a substantial risk that the wrongful acts
will continue in the future, thus warranting (and necessitating) injunctive relief.

121. Experian has suffered injury in fact and has lost money and property
as a result of the unfair competition by LifeLock and DOES 1-10.

122. Pursuant to California Business and Professions Code Section 17203,
Experian is entitled to equitable relief, including restitution of all profits LifeLock
and DOES 1-10 have retained as a consequence of the unlawful business practices,
in which Experian has an interest and to which Experian is entitled as a result of the
unlawful and unfair business practices.

123. Experian is also entitled to injunctive relief preliminary and
permanently restraining LifeLock from continuing the unlawful and unfair business

practices described herein.

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EIGHTH CAUSE OF ACTION
(Unjust Enrichment/Restitution against LifeLock and
DOES 1 through 10)

124. Experian repeats, realleges, and incorporates by reference, the
allegations contained in Paragraph 1 through 123, inclusive.

125. LifeLock and DOES 1-10 have been unjustly enriched at Experian’s
expense by gaming the FCRA, defrauding Experian and consumers, and laundering
fraud alerts through the other credit reporting agencies to Experian’s harm and
detriment and to LifeLock’s benefit.

126. LifeLock and DOES 1-10 neither are “consumers” nor “individual[s]
acting on behalf of or as a personal representative of a consumer,” and are not
authorized and/or permitted by the FCRA to submit fraud alerts to Experian directly
or to cause fraud alerts to be referred to Experian by submitting requests for fraud
alerts to other consumer reporting agencies. LifeLock and DOES 1-10 have done
so, and continue to do so, without statutory authorization or permission, while
concealing, misrepresenting and laundering both their identities as the party
requesting the placement of the fraud alert and their corporate status from Experian
and other consumer reporting agencies.

127. LifeLock and DOES 1-10 have submitted, and continue to submit,
requests for initial fraud alerts without possessing a good faith suspicion that the
consumer has been or is about to become a victim of fraud or related crime,
including identity theft. In fact, LifeLock and DOES 1-10 have mislead their
customers into believing that they are eligible for fraud alerts on the basis of a
desire to proactively prevent identity theft, if a friend or family member has been a
victim of identity theft, or on the basis of media reports about identity theft.

128. LifeLock and DOES 1-10 sequentially submit requests that additional
“initial” fraud alerts be placed in a consumer’s file in order to indefinitely extend

the lifespan of the fraud alert. The FCRA does not authorize and/or permit

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LifeLock and DOES 1-10 to request the repeated, sequential placement of initial
alerts based on the same set of circumstances. The FCRA requires that extended
alerts be requested on the basis of an identity theft report, rather than the suspicion
that the consumer has been or is about to become a victim of fraud or related crime,
including identity theft. The FCRA does not authorize perpetual or indefinite

fraud alerts.

129. LifeLock and DOES 1-10 do not obtain their customers’ affirmative
assertions that, concurrent with the request for additional initial fraud alerts, the
consumer has a good faith suspicion that the consumer has been or is about to
become a victim of fraud or related crime, including identity theft. Instead,
LifeLock and DOES 1-10 request additional fraud alerts whenever their customers
do not notify LifeLock that they no longer hold such a suspicion.

130. LifeLock and DOES 1-10 have solicited consumers with misleading
and false advertising regarding LifeLock’s authority to place initial fraud alerts on
consumers’ files, consumers’ eligibility for initial fraud alerts, the nature and effect
of initial fraud alerts, and the ease in which a customer may request an initial fraud
alert directly from the consumer reporting agencies for free.

131, LifeLock and DOES 1-10 have been unjustly enriched by, and
improperly benefited from, its conduct in that: (1) the FCRA contemplates that
fraud alerts will be placed without charge to the requesting consumer, but LifeLock
and DOES 1-10 have charged, received and retained monies paid by consumers for
the placement of fraud alerts; (ii) LifeLock and DOES 1-10 are profiting at the
expense of Experian, who bears all of the costs and burdens of placing and
maintaining the fraud alert in the consumer’s file, referring fraud alerts to other
consumer reporting agencies, and providing the consumer with notices and the free
credit report to consumers who request such a report; (iil) LifeLock and DOES 1-10
are profiting from services and work it has wrongly induced Experian to perform,

and (iv) LifeLock and DOES 1-10 are profiting from the placement of fraud alerts

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for consumers who are not eligible for such alerts, and the provision of free credit
reports to consumers who are not eligible for such reports.

132. It would be unjust and unconscionable to permit LifeLock and DOES
1-10 to be enriched at the expense of Experian and to retain the benefits that were
wrongfully obtained through Experian.

133. LifeLock and DOES 1-10 have improperly benefited from fraudulent
activities, and thus Experian seeks restitution from LifeLock and DOES 1-10 in the
amount LifeLock and DOES 1-10 have been unjustly enriched and an order
disgorging all profits, benefits and other compensation obtained by LifeLock and
DOES 1-10.

NINTH CAUSE OF ACTION
(Quantum Meruit against LifeLock and
DOES 1 through 10)

134. Experian repeats, realleges, and incorporates by reference, the
allegations contained in Paragraph 1 through 133, inclusive.

135. Experian provides services at the request of LifeLock and DOES 1-10
for which LifeLock charges its customers a monthly fee, including implementation
of fraud alerts and the provision of free credit reports. Experian has received no
compensation from LifeLock and DOES 1-10 for providing these services, and
LifeLock and DOES 1-10 have offered none.

136. LifeLock and DOES 1-10 have benefited from the services they have
wrongfully obtained from Experian.

137. Experian is entitled to compensation in an amount equal to the value

of the services obtained from it by LifeLock and DOES 1-10.

PRAYER
WHEREFORE, Plaintiff prays judgment against Defendants, and each of

them, as follows:

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FIRST CAUSE OF ACTION

For a declaration that:

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LifeLock neither is a “consumer” nor “an individual” “acting on
behalf of or as a personal representative of a consumer” within
the meaning of 15 U.S.C. § 1681c-1(a)(1), and is not authorized
to submit requests for initial fraud alerts to a consumer reporting
agency under 15 U.S.C. § 1681c-1.

A request for an initial fraud alert submitted by LifeLock is not a
“direct request of a consumer, or an individual acting on behalf
of or as a personal representative of a consumer,” within the
meaning of 15 U.S.C. § 1681c-1(a)(1), and Experian, as a
consumer reporting agency, is not required by 15 U.S.C.

§ 1681c-1(a)(1) to follow the procedures set forth in 15 U.S.C.
§ 1681c-1(a)(1)(A) and 15 U.S.C. § 1681c-1(a)(1)(B) in
connection with a request for an initial fraud alert submitted

by LifeLock.

Experian, as a consumer reporting agency, is not required to
follow the procedures set forth in 15 U.S.C. § 1681c-1(e) in
connection with a referral of a fraud alert from another consumer
reporting agency where the request for the initial fraud alert was
submitted to the referring consumer reporting agency by
LifeLock.

Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert where the request for that
initial fraud alert was submitted to the consumer reporting
agency by LifeLock.

LifeLock is not authorized to submit a request for an initial fraud

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alert to Experian or other consumer reporting agency prior to the
expiration of any initial fraud alert in the file of the consumer.
Experian, as a consumer reporting agency, is not required to
follow the procedures set forth by 15 U.S.C. § 1681c-1(a)(1) and
15 U.S.C. § 1681c-1(a)(1)(B), when a request for an initial fraud
alert is requested to be placed in the file of a consumer prior to
the expiration of any initial fraud alert in the file of that
consumer.

Experian, as a consumer reporting agency, is not required to
follow the procedures set forth by 15 U.S.C. § 1681c-1(a)(1) and
15 U.S.C. § 1681c-1(a)(1)(B), when a request for an initial fraud
alert is referred from another credit reporting agency prior to the
expiration of any initial fraud alert in the file of that consumer.
Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert where the request for that
initial fraud alert was requested to be placed in the file ofa
consumer prior to the expiration of any initial fraud alert in the
file of that consumer.

Under 15 U.S.C. § 1681c-1(a)(1), a consumer or individual
requesting the placement of an initial fraud alert must
affirmatively assert a good faith suspicion that the consumer has
been or is about to become a victim of fraud or related crime,
including identity theft, at the time the request for placement of
that initial fraud alert is made.

LifeLock is not authorized to submit a request for an initial fraud
alert to Experian or other consumer reporting agency, where the

consumer has not affirmatively asserted in good faith that the

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consumer has been or is about to become a victim of fraud or
related crime, including identity theft, at the time that the request
for the placement of that initial fraud alert is made.

Experian, as a consumer reporting agency, is not required by

15 U.S.C. § 1681¢-1(a)(1) to follow the procedures set forth in
15 U.S.C. § 1681c-1(a)(1)(A) and 15 U.S.C. § 1681c-1(a)(1)(B),
in connection with a request for an initial fraud alert where the
consumer has not affirmatively asserted in good faith that the
consumer has been or is about to become a victim of fraud or
related crime, including identity theft, at the time that the request
for the placement of that initial fraud alert is made.

Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert where the consumer has not
affirmatively asserted in good faith that the consumer has been
or is about to become a victim of fraud or related crime,
including identity theft, at the time that the request for the
placement of that initial fraud alert is made.

LifeLock is not authorized to submit a request for an initial fraud
alert to Experian or other consumer reporting agency alert where
the request for that initial fraud alert is based on the consumer’s
failure to retract an assertion that the consumer was or was about
to become a victim of fraud or related crime, including identity
theft, which was made in connection with a prior request for an
initial fraud alert.

Experian, as a consumer reporting agency, is not required by

15 U.S.C. § 1681c-1(a)(1) to follow the procedures set forth in
15 U.S.C. § 1681c-1(a)(1)(A) and 15 U.S.C. § 1681c-1(a)(1)(B),

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in connection with a request for an initial fraud alert which is
based on the consumer’s failure to retract an assertion that the
consumer was or was about to become a victim of fraud or
related crime, including identity theft, which was made in
connection with a prior request for an initial fraud alert.

(xv) Under 15 U.S.C. § 1681c-1(a)(1)(B), a consumer reporting
agency is not required to refer information to Experian in
connection with an initial fraud alert, which is based upon the
consumer’s failure to retract an assertion that the consumer was
or was about to become a victim of fraud or related crime,
including identity theft, and which was made in connection with
a prior request for an initial fraud alert.

For injunctive relief, enjoining Defendants from submitting requests

for fraud alerts to Experian, Trans Union and Equifax;

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.

SECOND CAUSE OF ACTION

For actual damages in an amount to be proven at trial;

For restitution to the extent permitted by law;

For injunctive relief, enjoining Defendants from submitting requests

for fraud alerts to Experian, Trans Union and Equifax;

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.

THIRD CAUSE OF ACTION

For actual damages in an amount to be proven at trial;

For restitution to the extent permitted by law;

For injunctive relief, enjoining Defendants from submitting requests

for fraud alerts to Experian, Trans Union and Equifax;

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For punitive damage;

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.
FOURTH CAUSE OF ACTION

For actual damages in an amount to be proven at trial;

For restitution to the extent permitted by law;

For injunctive relief, enjoining Defendants from submitting requests

for fraud alerts to Experian, Trans Union and Equifax;

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.

FIFTH CAUSE OF ACTION

For actual damages in an amount to be proven at trial;

For restitution to the extent permitted by law;

For injunctive relief, enjoining Defendants from placing and/or

making, or authorizing the placing or making of, any advertisements

and/or representations which contain false and misleading statements

regarding Defendants’ ability and authority to place fraud alerts, the

need for a good faith belief in placing fraud alerts, the availability of

fraud alerts as a proactive, preventative measure, that consumers are

entitled to automatic renewals of fraud alerts, the efficacy of fraud

alerts against all types of fraud, that fraud alerts prevent access to credit

reports, the difficulty of obtaining fraud alerts through credit bureaus,

that LifeLock places fraud alerts directly with Experian, that

consumers can only receive the protection afforded by fraud alerts by

purchasing LifeLock’s service, that creditors will call consumers who

have a fraud alert on their file, the source of the credit report provided

by LifeLock, and, any other advertising false or misleading advertising

regarding fraud alerts, and enjoining the use of the LifeLock name.

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For punitive damages;

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.

SIXTH CAUSE OF ACTION

For restitution to the extent permitted by law;

For disgorgement of profits;

For injunctive relief, enjoining Defendants from placing and/or

making, or authorizing the placing or making of, any advertisements

and/or representations which contain false and misleading statements

regarding Defendants’ ability and authority to place fraud alerts, the

need for a good faith belief in placing fraud alerts, the availability of

fraud alerts as a proactive, preventative measure, that consumers are

entitled to automatic renewals of fraud alerts, the efficacy of fraud

alerts against all types of fraud, that fraud alerts prevent access to credit

reports, the difficulty of obtaining fraud alerts through credit bureaus,

that LifeLock places fraud alerts directly with Experian, that

consumers can only receive the protection afforded by fraud alerts by

purchasing LifeLock’s service, that creditors will call consumers who

have a fraud alert on their file, the source of the credit report provided

by LifeLock, and, any other advertising false or misleading advertising

regarding fraud alerts, and enjoining the use of the LifeLock name.

For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.
SEVENTH CAUSE OF ACTION

For restitution to the extent permitted by law;

For disgorgement of profits;

For injunctive relief, enjoining Defendants from submitting fraud alerts

on behalf of consumers to Experian, Trans Union and Equifax; and

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enjoining Defendants from placing and/or making, or authorizing the
placing or making of, any advertisements and/or representations which
contain false and misleading statements regarding Defendants’ ability
and authority to place fraud alerts, the need for a good faith belief in
placing fraud alerts, the availability of fraud alerts as a proactive,
preventative measure, that consumers are entitled to automatic
renewals of fraud alerts, the efficacy of fraud alerts against all types of
fraud, that fraud alerts prevent access to credit reports, the difficulty of
obtaining fraud alerts through credit bureaus, that LifeLock places
fraud alerts directly with Experian, that consumers can only receive the
protection afforded by fraud alerts by purchasing LifeLock’s service,
that creditors will call consumers who have a fraud alert on their file,
the source of the credit report provided by LifeLock, and, any other
advertising false or misleading advertising regarding fraud alerts, and
enjoining the use of the LifeLock name.
For costs of suit herein incurred; and
For such other and further relief as the Court may deem proper.
EIGHTH CAUSE OF ACTION
For restitution to the extent permitted by law;
For disgorgement of profits;
For costs of suit herein incurred; and

For such other and further relief as the Court may deem proper.

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1 NINTH CAUSE OF ACTION
2 1. For restitution to the extent permitted by law;
3 2. For costs of suit herein incurred; and
4 3. For such other and further relief as the Court may deem proper.
5 | Dated: February 13, 2008 JONES DAY
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9 BXPERTAN INFORMATION
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Plaintiff Experian Information Solutions, Inc. hereby demands trial by jury.

DEMAND FOR JURY TRIAL

Dated: February 13, 2008 JONES DAY

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J Richard J. shes

Attorneys for Plaintiff
EXPERIAN INFORMATION
SOLUTIONS, INC.

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Andrew Guilford and the assigned
discovery Magistrate Judge is Mare Goldman.

The case number on all documents filed with the Court should read as follows:

SACVO8- 165 AG (MLGx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

 

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
COPY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Experian Information Solutions, Inc. CASE NUMBER

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PLAINTIFF(S) SACV08-00165 AG (MLGx)

Vv.
LifeLock, Inc.

 

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SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S): LifeLock, Inc.
A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached ff complaint O amended complaint

C counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, Richard J. Grabowski , whose address is
JONES DAY, 3 Park Plaza, Suite 1100, Irvine, California 92614 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

  

Clerk, U.S. District Court
FEB 13 20908 ROYCE?

Dated: by: e j
Deputy Clerk “Ha ae?
lag

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-O1A (12/07) SUMMONS

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

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I (a) PLAINTIFFS (Check box if you are representing yourself CI)
Experian Information Solutions, Inc.

(b) County of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases):

te Attorneys (Firm Name, Address and Telephone Number. If you are representing

\ yourself, provide same.)
' Richard J. Grabowski
JONES DAY

(949) 851-3939

3 Park Plaza, Suite 1100

Irvine, CA 92614

 

DEFENDANTS
LifeLock, Inc.

Attorneys (If Known)

County of Residence of First Listed Defendant (In US. Plaintiff Cases Only):
Maricopa County, Arizona

 

il. BASIS OF JURISDICTION (Place an X in one box only.)

71 U.S. Government Plaintiff

112 U.S. Government Defendant

(3 Federal Question (U.S.

Government Not a Party)

0 4 Diversity (Indicate Citizenship

of Parties in Item TI)

TV. ORIGIN (Place an X in one box only.)

 

UL. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another State

PTF
O1

2

DEF
O1

G2

Citizen or Subject of a Foreign County 03 O13

PTF DEF

Incorporated or Principal Place O14 O14
of Business in this State

Incorporated and Principal Place O5 O15
of Business in Another State

Foreign Nation

O«6 06

wf) Original (2 Removed from (13 Remanded from [14 Reinstated or 15 Transferred from another district (specify). [6 Multi- (97 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: fW’Yes (1) No (Check ‘Yes’ only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: 0 Yes

ONo

€ MONEY DEMANDED IN COMPLAINT: $

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Plaintiff brings claims pursuant to 15 U.S.C. § 1125 and various state laws arising from Defendant's fraudulent and illegal placement of fraud alerts in
violation of 15 U.S.C. § 1681.

VII NATURE OF SUIT (Place an X in one box only.)

 

OTHER STATUTES"
(400 State Reapportionment
(1.410 Antitrust
© 430 Banks and Banking
01450 Commerce/ICC
Rates/etc.

Deportation

Racketeer Influenced
and Corrupt
Organizations
Consumer Credit
Cable/Sat TV

Selective Service
Securities/Commodities
‘Exchange

Customer Challenge 12
USC 3410

Other Statutory Actions
Agricultural Act
Economic Stabilization
Act

Environmental Matters
Energy Allocation Act
Freedom of Info. Act
Appeal of Fee Determi-
nation Under Equal
Access to Justice
Constitutionality of
State Statutes

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= "¢ CONTRACT TORTS:

(1110 Insurance PERSONAL INJURY

(1120 Marine (11310 Airplane

(4 130 Miller Act (9315 Airplane Product

Oj 140 Negotiable Instrument Liability

(1150 Recovery of (1320 Assauit, Libel &
Overpayment & Slander
Enforcement of (0330 Fed. Employers’
Judgment Liability

(151 Medicare Act 0 340 Marine

(152 Recovery of Defaulted ]( 345 Marine Product
Student Loan (Excl. Liability
Veterans) (4350 Motor Vehicle

(1 153 Recovery of (1355 Motor Vehicle
Overpayment of Product Liability
Veteran’s Benefits 0) 360 Other Personal

0D 160 Stockholders’ Suits Injury

(190 Other Contract 0 362 Personal Injury-

0 195 Contract Product Med Malpractice
Liability (0 365 Personal Injury-

(1 196 Franchise _ Product Liability

SS REAL PROPERTY. - |{1 368 Asbestos Personal

(1210 Land Condemnation Injury Product

OU 220 Foreclosure Liability

0 230 Rent Lease & Ejectment

(3 240 Torts to Land

0 245 Tort Product Liability

(1290 All Other Real Property

 

TORTS -
PERSONAL
PROPERTY

370 Other Fraud
(1371 Truth in Lending
(3 380 Other Personal

Property Damage

0 385 Property Damage
Product Liability
“BANKRUPTCY
0) 422 Appeal 28 USC

158 ‘

(10 423 Withdrawal 28

USC 157

CIVIL RIGHTS .
00 441 Voting
(1 442 Employment
(1 443 Housing/Acco-
mmodations
Welfare
American with
Disabilities -
Employment
American with
Disabilities -
Other
Other Civil
Rights

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PRISONER
PETITIONS
Motions to
Vacate Sentence
Habeas Corpus
General
Death Penalty
Mandamus/
Other
Civil Rights
Prison Condition

FORFEITURE / -

PENALTY *
Agriculture
Other Food &
Drug
Drug Related
Seizure of
Property 21 USC
881
Liquor Laws
R.R. & Truck
Airline Regs
Occupational
Safety /Health
Other

 

 

~~ LABOR

(1710 Fair Labor Standards
Act

720 Labor/Memt.
Relations

01730 Labor/Mgmt.
Reporting &
Disclosure Act

(1 740 Railway Labor Act

(9790 Other Labor
Litigation

(11791 Empl. Ret. Inc.
Security Act

~ PROPERTY RIGHTS

(1 820 Copyrights

0 830 Patent

840 Trademark

_ 2 SOCIAL SECURITY .

0 861 HIA (1395ff}

C3 862 Black Lung (923)

0 863 DIWC/DIWW
(405(g))

0 864 SSID Title XVI

(1 865 RSI (405(g))

DERALSTAX si

 

 

 

(1 870 Taxes (US. Plaintiff
or Defendant)

1 871 IRS-Third Party 26
USC 7609

 

 

VIII(a). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? 1 No O Yes

If yes, list case number(s):

FOR OFFICE USE ONLY:

Case Number:

SACVUS-UUI65 AG (MLGx)

 

 

CV-71 (07/05)

CIVIL COVER SHEET

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

Il1(b). RELATED CASES: Have any cases been previously filed that are related to the present case? No O Yes

yes, list case number(s):

 

‘ivil cases are deemed related if a previously filed case and the present case:
check all boxes that apply) (1A. Arise from the same or closely related transactions, happenings, or events; or
CIB. Call for determination of the same or substantially related or similar questions of law and fact; or
CIC. For other reasons would entail substantial duplication of labor if heard by different judges, or
OD. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

X. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
3 Check here if the U.S. government, its agencies or employees is a named plaintiff.
Orange County, California

ist the California County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).
3 Check here if the U.S. government, its agencies or employees is a named defendant.
Arizona

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)

Note: In land condemnation cases, use the location of the tract of land involved. :
A substantial part of each claim alleged in the complaint occurred in Orange County, California.

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X. SIGNATURE OF ATTORNEY (OR PRO PER): zs L L. Li a Date February 13, 2008
Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL Ali claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

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